905 F.2d 1530Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roger Lee McKOY, Plaintiff-Appellant,v.Shelia HEATH;  Dr. Smith, Defendants-Appellees.
    No. 90-6507.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 7, 1990.Decided May 15, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (C/A No. 89-916-CRT-BO)
      Roger Lee McKoy, appellant pro se.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Roger Lee McKoy appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.*   Accordingly, we affirm on the reasoning of the district court.  McKoy v. Heath, C/A No. 89-916-CRT-BO (E.D.N.C. Dec. 19, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         McKoy raises a claim that is cognizable based on the decision in Washington v. Harper, 58 U.S.L.W. 4249 (U.S. Feb. 27, 1990) (No. 88-599).  However, the alleged events occurred in October 1984 and, thus, this action is barred by the North Carolina three-year statute of limitations, N.C.Gen.Stat. Sec. 1-52(5).   See Wilson v. Garcia, 471 U.S. 261 (1985)
      
    
    